  Case 18-21619        Doc 60  Filed 07/15/19 Entered 07/15/19 14:42:23           Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                      )               BK No.:    18-21619
RONALD N. CLEVELAND,                        )
and,                                        )               Chapter: 13
JENNIFER M. CELVELAND,                      )
                                                            Honorable LaShonda Hunt
                                            )
                                            )
               Debtor(s)                    )
                              ORDER GRANTING DEBTORS'
                       MOTION TO INCUR DEBT AND SHORTEN NOTICE

       THIS MATTER coming to be heard on the motion of the Debtor, the Court having jurisdiction
over the parties and the subject matter and being duly advised in the premises and due notice having
been given to the parties entitled thereto:

It is hereby ORDERED that:

  1) The notice requirement under Rule 9006(c) and 4002(c)(2) for this Motion to Incur Debt from
fourteen days to seven days.

  2) The Debtors' are granted leave to incur debt in the amount $16,046.67 through the Secretary or
Housing and Urban Development for the purpose of curing their mortgage default.




                                                        Enter:


                                                                 Honorable LaShonda A. Hunt
Dated: July 15, 2019                                             United States Bankruptcy Judge

 Prepared by:
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